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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                           CASE NO. 4:11cr00072-02 JMM

LESTER DITTO



                                           ORDER

      The jury trial currently scheduled July 30, 2012 is rescheduled for Monday, July 16,

2012 at 9:15 a.m. The parties are directed to submit simultaneous jury instructions on or

before July 6, 2012. It is not necessary to include the standard opening and closing

instructions. Core instructions shall be submitted on a compact disc in WordPerfect 6.1 or

higher format or by e-mail to jmmchambers@ared.uscourts.gov.

      Counsel are directed to be present at 8:15 a.m. in order to be prepared for a

Pretrial Conference that will begin at 8:30 a.m.

      Counsel are directed to submit by e-mail (jmmchambers@ared.uscourts.gov) a

list of witnesses and exhibits, no later than Wednesday, July 11, 2012.

      Dated this 4th day of April, 2012.



                                               UNITED STATES DISTRICT JUDGE
